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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                              Case No. 06-CR-20411-DT

D-1 - RUDOLPH DALRON WILLIAMS,
D-2 - FRANK PIERCE,
D-3 - DARRYL PIERCE,
D-4 - DERRICK YOUNG,
D-5 - CLARENCE JACKSON,

             Defendants.

                                        /

             ORDER REGARDING INTERIM PAYMENTS FOR COUNSEL

      Because of the expected length of the trial in this case, and the anticipated

hardship on counsel in undertaking representation full-time for such a period without

compensation, pursuant to paragraph 2.30 B of the Guidelines for the Administration of

the Criminal Justice Act, the following procedures for interim payments shall apply

during the course of counsel’s representation in this case.

                            I. SUBMISSION OF VOUCHERS

      After expending a minimum total of $5,000.00 in either time or expenses, counsel

shall submit to the court clerk an interim CJA Form 30, “Death Penalty Proceedings:

Appointment and Authority to Pay Court Appointed Counsel.” Compensation earned,

and reimbursable expenses incurred, after the first $5,000.00 shall be submitted in

increments of $5,000.00 or more through final disposition of this case. Each voucher

shall be numbered when processed for payment. Counsel must complete items 18 and
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21 on the form for each interim voucher. All interim vouchers shall be supported by

detailed and itemized time and expense statements. Chapter VI, as well as the

applicable provisions of Chapter II, Part C of the Guidelines for the Administration of the

Criminal Justice Act, outlines the procedures and rules for claims by CJA attorneys and

should be followed regarding each voucher.

       The court will review the interim vouchers when submitted, particularly with

regard to the amount of time claimed, and will authorize compensation to be paid for the

approved number of hours. The court will also authorize for payment all reimbursable

expenses reasonably incurred. Following the court’s approval, the interim vouchers will

be submitted for payment. There is neither a statutory case compensation maximum for

appointed counsel nor provision for review and approval by the chief judge of the circuit

of the case compensation amount in capital cases.

       At the conclusion of the representation, each counsel shall submit a final voucher

seeking payment for representation provided during the final interim period. The final

voucher shall set forth in detail the time and expenses claimed for the entire case,

including all relevant documentation. Counsel shall reflect all compensation and

reimbursement previously received on the appropriate line of the final voucher, as well

as the net amount remaining to be paid at the conclusion of the case.

                            II. REIMBURSABLE EXPENSES

       Counsel may be reimbursed for out-of-pocket expenses reasonably incurred

incident to the representation. While the statute and applicable rules and regulations do

not place a monetary limit on the amount of expenses that can be incurred, counsel

should incur no single expense item in excess of $500.00 without prior approval of the

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court. Such approval may be sought by filing an ex parte application stating the nature

of the expense, the estimated dollar cost and the reason the expense is necessary to

the representation. An application seeking such approval may be filed in camera, if

necessary. Upon finding that the expense is reasonable, the court will authorize

counsel to incur it. Recurring expenses, such as telephone toll calls, photocopying and

photographs, which aggregate more than $500.00 on one or more interim vouchers are

not considered single expenses requiring court approval.

       With respect to travel outside of the county of Wayne for the purpose of

consulting with the client or his former counsel, interviewing witnesses, etc., the $500.00

rule should be applied in the following manner: travel expenses, such as air fare,

mileage, parking fees, meals and lodging should be claimed as itemized expenses.

However, if the reimbursement for expenses relating to a single trip will aggregate to an

amount in excess of $500.00, the travel should receive prior approval of the court.

       The following additional guidelines may be helpful to counsel:

A.     Case-related travel by privately owned automobile should be claimed at the rate

       of 44.5 cents per mile, plus parking fees, ferry fares, and bridge, road and tunnel

       tolls. Transportation other than by privately owned automobile should be claimed

       on an actual expense basis. Air travel in “first class” is prohibited. Counsel and

       persons providing service under the CJA are required to contact the Financial

       Department (313-234-5070) for air travel authorization at government rates.

B.     Actual expenses incurred for meals and lodging while traveling outside of the

       county of Wayne in the course of this representation must conform to the

       prevailing limitations placed upon travel and subsistence expenses of federal

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       judiciary employees in accordance with existing government travel regulations.

       For specific details concerning high cost areas, counsel should consult the clerk’s

       office.

C.     Telephone toll calls, telegrams, photocopying and photographs can all be

       reimbursable expenses if reasonably incurred. However, general office

       overhead, such as rent, secretarial help and telephone service, is not a

       reimbursable expense, nor are items of a personal nature. In addition, expenses

       for service of subpoenas on fact witnesses are not reimbursable, but rather are

       governed by Federal Rule of Criminal Procedure 17 and 28 U.S.C. § 1825.

                       III. FURTHER QUESTIONS OR GUIDANCE

       Answers to questions concerning appointment under the Criminal Justice Act can

generally be found in (1) 18 U.S.C. § 3006A; (2) the Plan of the United States District

Court for the Eastern District of Michigan, available through the clerk’s office; and (3)

the Guidelines for the Administration of the Criminal Justice Act, published by the

Administrative Office of the U.S. Courts, also available through the clerk’s office.

Should these references fail to provide the desired clarification or direction, counsel

should address their inquiry directly to the court or the court’s staff.



                                           s/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE

Dated: December 15, 2006




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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, December 15, 2006, by electronic and/or ordinary mail.


                                                                   s/Lisa G. Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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